 Case 2:20-ap-01022-VZ            Doc 5 Filed 02/07/20 Entered 02/07/20 14:03:32        Desc
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10   HONG LIU
11
                                  UNITED STATES BANKRUPTCY COURT
12
                                  CENTRAL DISTRICT OF CALIFORNIA
13

14    In re:                                              Chapter 11
15             YUETING JIA,                               Adversary Case No.: 2:20-ap-01022-VZ
16                   Debtor.                              Bankruptcy Case No: 2:19-bk-24804-VZ
17    _______________________________________
                                                          PROOF OF SERVICE OF SUMMONS
18
      HONG LIU, an individual,
19
                     Plaintiff,
20    v.
21    YUETING JIA, an individual; and DOES 1
      through 20, inclusive,
22
                     Defendant/Debtor.
23

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                                                    -1-
                                        PROOF OF SERVICE OF SUMMONS
         Case 2:20-ap-01022-VZ                   Doc 5 Filed 02/07/20 Entered 02/07/20 14:03:32                                        Desc
                                                  Main Document    Page 2 of 2




                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address Is:
1880 Century Park East. Suite 714
Los Angeles, OA 90067

A true and correct copy of the foregoing document entitled {specify): COMPLAINT TO DETERMINE NON-
DISCHARGEABILITY OF DEBT: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING: ORDER SETTING PROCEDURES FOR ADVERSARY PROCEEDING STATUS CONFERENCES:
NOTICE RE FREE LEGAL HELP
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d): and (b) in
the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING fNEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
02/07/2020         . I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
 United States Trustee                                  Jeffrey W. Dulberg
 ustoregion16.la.ecf@usdoj.gov                          Pachulski Stang Ziehl & Jones. LLP
                                                         10100 Santa Monica Blvd., 13th Floor
                                                         Los Angeles, CA 90067 jdulberg@pszjlaw.com

                                                                                      □ Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On {date) 02/07/2020            I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

  Jueting Jia                                                    Judge Vincent Zurzolo
  91 Margeurite Drive                                             United States Bankruptcy Court
  Rancho Palos Verdes, CA 90275                                   255 E. Temple Street, Suite 1360
                                                                 los                         'oo(^
                                                                                             ervice information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each oerson or entitv served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on {date)                                               , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on. or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                      □ Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that th^foregoing is true and correct.

02/02/2020         Benjamin Taylor
 Date                           Printed Name                                                    SigrfatGre



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of Califomia.

June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
